                               United States Court of Appeals
                                    For The Eighth Circuit
                                     Thomas F. Eagleton U.S. Courthouse
                                     111 South 10th Street, Room 24.329
                                   St. Louis, Missouri 63102
                                                                            VOICE (314) 244-2400
Maureen W. Gornik
                                                                              FAX (314) 244-2780
 Acting Clerk of Court
                                                                            www.ca8.uscourts.gov

    TO:        Jonathan Gordon Cooper Brian David Boone

    CC:        Joanne M. Cicala
               Richard Johan Conrod Jr.
               Shelbi Marie Flood
               Colleen Garvey
               John F Garvey Jr.
               Derrick R. Good
               Michael Roger Hoernlein
               Christopher John Lang
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               Christopher G. Michel
               Bradley J. Schlozman
               Daniel S. Simon
               Charles Barnwell Straut II
               Caroline Rawls Strumph
               Ellen Thomas
               Josh T. Wackerly

FROM:          Hillary A. Grupe

DATE:          July 01, 2024

   RE:         24-1550 Jefferson County v. Express Scripts, Inc., et al

         Your paper briefs in the above-referenced case have been received. In reviewing the
briefs, we noted the deficiencies shown below.


X      Please file a Corrected Certificate of Service entry in CM/ECF within 5 days of the date of
this notice showing service of the paper copies of your brief. Pursuant to 8th Cir. R. 28A(d),
counsel is required to serve one paper copy on each party separately represented or proceeding
pro se. **The Certificate of Service provided with the brief/addendum indicates the APPENDIX
was served upon opposing counsel, not the brief and addendum.




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